                IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA

       v.

MARK HOUCK,                                           CIVIL ACTION

                     Defendant.                       NO. 22-cr-323


                                     ORDER

      AND NOW, this 10th day of January 2023, upon consideration of the

Defendant’s Motion to Dismiss (ECF 24), the Government’s Response (ECF 27), and

Defendant’s Reply (ECF 37), it is hereby ORDERED that Defendant’s Motion (ECF 24)

is DENIED.



                                                   BY THE COURT:



                                                   /s/ Gerald J. Pappert
                                                   GERALD J. PAPPERT, J.
